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8/5/2020 State Bar of Texas | Find A Lawyer | Omar Weaver Rosales

STATE BAR ae = ee:

 

MR. OMAR WEAVER ROSALES
Eligible to Practice in Texas
_ THE ROSALES LAW FIRM, LLC CONTACT INFORMATION

Bar Card Number: 24053450 Tel:- &
TX License Date: 05/04/2006 :

Primary Practice Location: Brownsville , Texas

 

Practice Areas: Criminal, Appellate: Civil, Appellate: Criminal, Disability Law

 

Statutory Profile Last Certified On: 06/10/2020
PRACTICE INFORMATION RECOGNITION
Firm: The Rosales Law Firm, LLC

Firm Size: 2 to 5

 

Occupation: Private Law Practice

Practice Areas: Criminal, Appellate: Civil, Appellate: Criminal, Disability

Law COURTS OF ADMITTANCE
Services Provided: Federal:
Deaf/Hard of Hearing Translation: Not Specified None Reported By Attorney

ADA-accessible client service: Yes
Other Courts:

None Reported By Attorney

Language translation: Yes

Fee Options Provided: @

None Reported By Attorney Other States Licensed:

None Reported By Attorney

Please nate: Not all payment options are available for all cases, and any

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Foreign Language Assistance:
Spanish

LAW SCHOOL

 

School
Degree earned

 

University of Texas
Doctor of Jurisprudence/Juris Doctor (J.D.)

Graduation Date 12/2005

 

PUBLIC DISCIPLINARY HISTORY

State of Texas
No Public Disciplinary History

Other States
None Reported By Attorney

Sanctions that indicate a judgment is on appeal are still in effect but are not final and subject to change. To request a copy of a disciplinary judgment that is not

available online or for more information about a specific disciplinary sanction listed above, please contact the Office of the chief Disciplinary Counsel at (877)
953-5535.

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Certificate of Completion

This certifies that the person named below has completed a
16 Hour Anger Management Class

and has passed a feria Fowles = assessment

 

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pe en MANAGEMENT Soe oooy)

Cettificate Namber Coane

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nen se

Mr. Robert A. Williams, Course Instructor
Certified Anger Management Specialist (CAMS-1)
Certified Domestic Violence Specialist (CDVS-1)
(407) 906-6254 | certificate@CourseForAnger.com

 

 

 

 
 

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2/7/2020 MCLE Transcript - Member Portal

MCLE TRANSCRIPT

   

STATE BAR OF TEXAS
Minimum Continuing Legal Education
MCLE Transcript
Omar Weaver Rosales Report Date: 02/07/2020
, TX United States Barcard: 24053450

Birth Month: 2 - February

Bh EM eo MR SIR 22.088 st Bad Pe Mita REE. a, 2 RAR.

 

“MCLE TRANSCRIPT

 

 

 

 

 

Course
Compliance Date Taken Reporting Number Credit Ethics
n * Date (Course #) Course Title (Course #) Hours Hours
Omar 2/1/2020 2/1/2020 174072954 Cyberbullying and Free 1.00 0.00.
Weaver Speech in Schools
Rosales :
2020
Omar 2/1/2020 2/1/2020 174045902 Communication Techniques 1.00 1.00
Weaver to Improve Gender
Rosales : Diversity in the
2020
Omar 2/1/2020 2/1/2020 174045896 Common Ethics Violations 1.00 1.00
Weaver to Avoid
Rosales :
2020
_ Omar 1/31/2020 2/1/2020 174058471 Cell Phone Location 1.00 0.00
Weaver Evidence for Legal
Rosales : Professionals
2020

 

https://mymcle.texasbar.com/mcle-transcript/ 1/22
 

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MCLE Transcript - Member Portal

2/7/2020

 

 

 

 

 

 

 

 

 

Course
Compliance Date Taken Reporting Number Credit Ethics
a +t Date (Course #) Course Title (Course #) Hours Hours
Qmar 1/31/2020 = 2/1/2020 174058470 Cell Phone Forensics for 1.00 0.00
Weaver Legal Professionals
Rosales :
2020
Omar 1/2/2020 1/6/2020 174045891 Burnt, Smashed, or Broken: 1.00 0.00
Weaver Property Damage and
Rosales : Homeowners In
2020
Omar 1/2/2020 1/6/2020 174045894 But! Only Had Two Beers!! 1.00 0.00
Weaver
Rosales :
2020
Omar 1/1/2020 1/6/2020 174055580 Avoiding Ethical Conflicts 1.00 1.00
Weaver of Interest
Rosales :
2020
Omar 1/1/2020 1/6/2020 174058433 Basics of Sweepstakes, 1.00 0.00
Weaver Contests and Mobile
Rosales : Marketing Law
2020
Omar 12/31/2019 1/2/2020 174045888 Appellate Oral Arguments: 1.00 0.00
Weaver Nuts and Bolts and Do's
Rosales : and Don'ts
2020
Omar 12/30/2019 1/2/2020 174034734 An Overview of FamityLaw 1.00 0.00
Weaver Practice
Rosaies :
2020
Omar 12/30/2019 1/2/2020 174034726 Counseling Your Business 1.00 0.00
Weaver Clients on Trademarks
Rosales :
2020
Omar 12/30/2019 1/2/2020 174034727 Crafting a Simple and 1.00 0.00
Weaver , Effective Closing Argument
Rosales :
2020

 

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2/7/2020

 

 

 

 

 

 

 

 

 

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Course
Compliance Date Taken Reporting Number Credit Ethics
+ * Date (Course #) Course Title (Course #) Hours Hours
Omar 12/26/2019 12/30/2019 174058473 Dealing with Bad Facts 1.50 0.00
Weaver
Rosales :
2020
Omar 12/26/2019 12/30/2019 174034725 Am 1 Drinking Too Much is 1.00 1.00
Weaver a Rhetorical Question!
Rosales :
2020
Omar 12/24/2019 12/30/2019 174063663 Anatomy Fundamentals for 1.50 0.00
Weaver Lawyers
Rosales :
2020
Omat 12/23/2019 12/30/2019 . 174055534 . Conducting High Level 2.00 0.00
Weaver Negotiations
Rosales :
2020
Omar 12/22/2019 12/23/2019 174055532 A Tax Crash Course for 1.50 0.00
Weaver Attorneys that Represent
Rosales : Businesses ,
2020
Omar 10/17/2019 1/31/2020 174066159 30577 23rd Annual 12.25 0.00
Weaver National Institute on Class
Rosales : Actions
2020
Omar 10/2/2019 1/31/2020 Other Self-study 0.00 0.00
Weaver
Rosales :
2020
OMAR . 1/4/2018 1/5/2018 928005827 Ethical Issues in Social 1.00 1.00
- WEAVER Media
ROSALES :
2018
OMAR 1/4/2018 1/5/2018 928005935 Prevention of Substance 1.00 1.00
-WEAVER Abuse for Attorneys
ROSALES :
2018

 

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Course
Compliance DateTaken Reporting Number Credit Ethics
* 4 Date (Course #) Course Title (Course #) Hours Hours
OMAR 1/4/2018 1/5/2018 928005828 Ethical Pitfalls and Legal 1.00 1.00.
WEAVER , Risks for Attorneys
ROSALES :
2018
OMAR 1/4/2018 1/5/2018 901373986 Equity Crowdfunding - 1.00 0.00
WEAVER Legal Considerations
ROSALES :
2018
OMAR 1/4/2018 1/8/2018 928012605 Medical Negligence Cases: 1.25 0.00
WEAVER Screening & Evaluating
ROSALES :
2018
OMAR 1/3/2018 4/5/2018 928012598 International Adoption - 100 0.00
WEAVER Highlights
ROSALES :
2018
OMAR 1/3/2018 1/5/2018 928012728 Estate Planning & Divorce 1.00 0.00
WEAVER
ROSALES :
2018
OMAR » 1/3/2018 1/5/2018 928012604 Mediation Success in 1.00 0.00
WEAVER Custodial Cases
ROSALES :
2018
OMAR 1/3/2018 1/5/2018 928012505 Common Ethical Pitfalls for 1.25 1.25
WEAVER Litigators and In-House
ROSALES : Counsel
2018
OMAR 1/3/2018 1/5/2018 928012545 Ethics in Litigation Update: 1.00 1.00
WEAVER E-Discovery, Online
ROSALES : Investigati
2018
OMAR 1/2/2018 1/2/2018 928012694 Current Issues forIn House 2.00 1.00
WEAVER Counsel
ROSALES :
2018

 

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2/7/2020

Compliance

+

Date Taken
*

Course
Number
(Course #)

Reporting
Date

Course Title (Course #)

Credit
Hours

Ethics
Hours

 

OMAR
WEAVER
ROSALES :
2018

1/2/2018

1/2/2018 928012900

The Body & Soul of
Business Valuation, Part II:

1.25

0.00

 

OMAR
WEAVER
ROSALES :
2018

1/2/2018

1/2/2018 901374004

Life Insurance Rescission

1.00

0.00

 

OMAR
WEAVER
ROSALES :
2018

1/2/2018

1/5/2018 ~— 928012580

Immigration Consequences
of Criminal Conduct

1.25

0.00

 

OMAR
WEAVER
ROSALES :
2018

1/2/2018

1/5/2018 928012903

The West Memphis Three

1.25

0.00

 

OMAR
WEAVER
ROSALES :
2018"

1/2/2018

1/5/2018 928005823

Bankruptcy & Divorce: The
Worst of Both Worlds

1.00

0.00

 

OMAR
WEAVER
ROSALES :
2018

1/1/2018

1/2/2018 928012901

The Body & Soul of

Business Valuation, Part III:

3.00

0.00

 

OMAR
WEAVER
ROSALES :
2018

12/31/2017

12/31/2017 ‘928005946

Settlement of Employment
Disputes - Part II

1.25

0.00

 

OMAR
WEAVER
ROSALES :
2018

12/31/2017

12/31/2017 901374068

Ethics & Privilege Issues:
Witnesses

1.00 —

1.00

 

OMAR

WEAVER

ROSALES :
- 2018

12/31/2017

12/31/2017 901374077

Trademark Law

1.00

0.00

 

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